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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  ARTHUR J. ABRAMOWITZ (AA3724)                                    Order Filed on October 21, 2020
  SHERMAN, SILVERSTEIN, KOHL, ROSE &                               by Clerk
  PODOLSKY, P.A.                                                   U.S. Bankruptcy Court
                                                                   District of New Jersey
  308 Harper Drive
  Suite 200
  Moorestown, New Jersey 08057
  (856) 662-0700
  Attorneys for the Debtor


  In re:                                                  Case No. 20-19379

  Farm-Rite. Inc.                                         Judge: Jerrold N. Poslusny Jr.

                   Debtor.                                Chapter: 11


 ORDER ENFORCING AUTOMATIC STAY AS TO LIBERTY MUTUAL INSURANCE TO
 COMPEL REINSTATEMENT OF INSURANCE POLICIES AND TO SET HEARING FOR
                        SANCTIONS, IF ANY

           The relief set forth on the following pages, numbered two (2) is hereby ORDERED.




  DATED: October 21, 2020




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         Upon consideration of the verified motion (the “Motion”) of the above-captioned debtor

 and debtor-in-possession (the “Debtor”), for entry of an order enforcing the automatic stay as to

 Liberty Mutual Insurance (“Liberty Mutual”) and compel the reinstatement of the Insurance

 Policies (as set forth in the Motion ) and to set a hearing for consideration of the imposition of

 sanctions, if any; notice of the Motion being sufficient under the circumstances; and sufficient

 cause appearing therefor, it is ORDERED:

                1.     That the Motion is GRANTED

                2.     That the Cancellation of Insurance Policy No. BMW58436338 and

                Insurance Policy No. BKS56645644 issued by Liberty Mutual to the Debtor as set

                forth in the motion (the “Insurance Policies”) is hereby deemed void. In the event

                Liberty Mutual intends to cancel Debtor’s insurance, it shall file the appropriate

                pleadings to effectuate the same.

                4.     That Liberty Mutual shall immediately take all necessary steps to reinstate

                the Insurance Policies in full force and effect.

                5.     That a further hearing is scheduled to consider whether Liberty Mutual

                acted in violation of the automatic stay provisions of 11 U.S.C. §362 and the

                imposition of sanctions, if any, on Liberty Mutual as may be deemed appropriate.

                A hearing on these issues is returnable on November 24, 2020 at 2:00 PM. Any

                responsive pleadings to the relief sought shall be filed by November 17, 2020 with

                a copy sent to Debtor’s counsel and the Offices of the United States Trustee.




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